                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

  UNITED STATES OF AMERICA,
                 Plaintiff,                            No. 22-cr-1039-CJW-2
  vs.                                                ORDER SCHEDULING
                                                  INITIAL APPEARANCE AND
  CODI LYN DEMAIO,
                                                       ARRAIGNMENT
                 Defendant.
                                ____________________

        The initial appearance and arraignment for the above defendant will take place
before the undersigned on Thursday, March 2, 2023, at 11:00 a.m.; United States
Courthouse, Courtroom 4, 111 7th Avenue SE, Cedar Rapids, Iowa.
        IT IS SO ORDERED this 28th day of February, 2023.




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